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                                                  CORRECTED




    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-0629V
                                          UNPUBLISHED


    MICHELE WENCLAWIAK,                                         Chief Special Master Corcoran

                         Petitioner,                            Filed: February 1, 2022
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Emily Beth Ashe, Anapol Weiss, Philadelphia, PA, for Petitioner.

Adriana Ruth Teitel, U.S. Department of Justice, Washington, DC, for Respondent.


                                 DECISION AWARDING DAMAGES 1

        On May 21, 2020, Michele Wenclawiak filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered from “severe left shoulder pain,
tingling, numbness, weakness and decreased range of motion, which was caused in fact”
by an influenza (“flu”) vaccine she received on October 1, 2018. Petition at 1. The case
was assigned to the Special Processing Unit of the Office of Special Masters.

        On November 2, 2021, a ruling on entitlement was issued, finding Petitioner
entitled to compensation for a left SIRVA. ECF 34. On January 31, 2022, Respondent
filed a proffer on award of compensation (“Proffer”) indicating Petitioner should be
awarded $82,500.00. Proffer at 1. In the Proffer, Respondent represented that Petitioner


1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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agrees with the proffered award. Id. Based on the record as a whole, I find that Petitioner
is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $82,500.00 for pain and suffering in the form of a check payable to
Petitioner. This amount represents compensation for all damages that would be available
under Section 15(a).

       The Clerk of Court is directed to enter judgment in accordance with this decision. 3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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                                           CORRECTED




            IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                      OFFICE OF SPECIAL MASTERS

 MICHELE WENCLAWIAK,

                       Petitioner,
                                                      No. 20-629V
       v.                                             Chief Special Master Corcoran (SPU)
                                                      ECF
 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                       Respondent.


              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On May 21, 2020, Michele Wenclawiak (“petitioner”) filed a petition for compensation

under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34 (“Vaccine

Act” or “Act”), as amended. Petitioner alleges that she suffers from “severe left shoulder pain,

tingling, numbness, weakness and decreased range of motion, which was caused in fact” by an

influenza (“flu”) vaccine she received on October 1, 2018. Petition at 1.

       On November 1, 2021, the Secretary of Health and Human Services (“respondent”) filed

a Rule 4(c) Report indicating that this case is appropriate for compensation under the terms of

the Act for a shoulder injury related to vaccine administration (“SIRVA”) Table injury, and on

November 2, 2021, the Chief Special Master issued a Ruling on Entitlement finding petitioner

entitled to compensation. ECF Nos. 33 and 34.

I.     Items of Compensation

       Respondent proffers that petitioner should be awarded $82,500.00 for pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees. This amount represent all elements of

compensation to which petitioner is entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.


                                                1
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II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following: a lump sum payment of $82,500.00, in the form of a

check payable to petitioner. 1

III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Michele Wenclawiak: $82,500.00

                                                      Respectfully submitted,

                                                      BRIAN M. BOYNTON
                                                      Acting Assistant Attorney General

                                                      C. SALVATORE D’ALESSIO
                                                      Acting Director
                                                      Torts Branch, Civil Division

                                                      HEATHER L. PEARLMAN
                                                      Deputy Director
                                                      Torts Branch, Civil Division

                                                      LARA A. ENGLUND
                                                      Assistant Director
                                                      Torts Branch, Civil Division

                                                      s/ Adriana Teitel
                                                      ADRIANA TEITEL
                                                      Trial Attorney
                                                      Torts Branch, Civil Division
                                                      U.S. Department of Justice
                                                      P.O. Box 146, Benjamin Franklin Station
                                                      Washington, DC 20044-0146
                                                      Tel: (202) 616-3677
Dated: January 31, 2022                               Email: adriana.teitel@usdoj.gov


1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                 2
